            Case 2:18-cv-00380-RMP                      ECF No. 1-2          filed 12/11/18   PageID.32 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                     Eastern District
                                                     __________ DistrictofofWashington
                                                                             __________

COLUMBIA RIVERKEEPER                                                     )
                                                                         )
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                              Civil Action No. 2:18-cv-380
                                                                         )
DOUGLAS COUNTY PUBLIC UTILITY DISTRICT, et                               )
al.;                                                                     )
                                                                         )
                                                                         )
                           Defendant(s)                                  )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

                                           Douglas County Public Utility District
                                           1151 Valley Mall Parkway
                                           East Wenatchee, WA 98802



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Brian A. Knutsen
                                           Kampmeier & Knutsen, PLLC
                                           221 S.E. 11th Avenue, Suite 217
                                           Portland, Oregon 97214


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT




Date                                                                                SEAN F. McAVOY, Clerk
             Case 2:18-cv-00380-RMP                      ECF No. 1-2       filed 12/11/18          PageID.33 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:18-cv-380

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                          .

           u I personally served the summons on the individual at (place)
                                                                                      on (date)                            ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                           , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                            ; or

           u I returned the summons unexecuted because                                                                                   ; or

           u Other (specify):
                                                                                                                                                .


           My fees are $                           for travel and $                       for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.




 Date                                                            Server’s signature



                                                                 Printed name and title




                                                                 Server’s address

 Additional information regarding attempted service, etc:
